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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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BD DEVELOPMENT, LLC.,
Case No.: 2:14-cv-4876 (JS) (AKT)
Plaintiff,
REPLY AFFIDAVIT OF
-against- DOMENICO FLAVONI
LOCAL 79, LABORERS INTERNATIONAL
UNION OF NORTH AMERICA,
Defendant.
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STATE OF NEW YORK _)
COUNTY OF SUFFOLK ~
DOMENICO FLAVONI, being duly sworn, deposes and says:

1. [ama co-owner and President of BD Development LLC (hereinafter BD”), the Plaintiff
in this action.

2. Together with Jimie Deliteris (hereinafter “Deliteris”), my partner — who is also the Vice
President and co-owner of BD — I manage all aspects of BD’s operations.

3. I submit this reply affidavit in further support of BD’s Motion for Summary Judgment
seeking judgment as a matter of law against Local 79, Laborers International Union of North
America (hereinafter “Defendant” or “Local 79”) for violations of the Labor Management
Relations Act (hereinafter “LMRA”) § 303.

4. In my capacity as co-owner and President of BD, I have personal knowledge of the facts

set forth below.
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5. In the course of my communications with agents of Local 79, I recorded some of the
conversations | had with these agents and representatives of various secondary employers and
others involved in such communications by using the “Voice Memos” application on my cellular
phone, an iPhone.

6. I previously outlined, in my affidavit dated November 2, 2016, conversations which |
personally recorded.

7. Below, I outline the remaining conversations which I also personally recorded.

8. On May 23, 2014, at approximately 10:56 AM, I recorded and participated in a
conversation | had with Lucien Zito of Macerich. The file containing the recorded conversation
was saved on my iPhone, transferred to my computer, and was ultimately saved as “5232014
105620 AM.m4a.”

9. On June 26, 2014, at approximately 8:03 AM, I recorded and participated in a
conversation | had with a representative of AMG. The file containing the recorded conversation
was saved on my iPhone, transferred to my computer, and was ultimately saved as ‘6262014
80317 AM.m4a.”

10. On July 2, 2014, at approximately 9:07 AM, I recorded and participated in a conversation
| had with representatives of BD and the Gap regarding, among other things, Local 79’s conduct.
The file containing the recorded conversation was saved on my iPhone, transferred to my
computer, and was ultimately saved as “722014 90752 AM.m4a.”

11.On July 3, 2014, at approximately 10:45 AM, I recorded and participated in a
conversation I had with Mike Labate. The file containing the recorded conversation was saved
on my iPhone, transferred to my computer, and was ultimately saved as “732014 104541

AM.m4a.”
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12. On July 8, 2014, at approximately 9:40 AM, I recorded and participated in a conversation
I had with Mike Labate. The file containing the recorded conversation was saved on my iPhone,
transferred to my computer, and was ultimately saved as “782014 94055 AM.m4a.”

13.On July 21, 2014, at approximately 10:37 AM, I recorded and participated in a
conversation | had with Ken Bluhm, a business agent for the New York City District Council of
Carpenters. The file containing the recorded conversation was saved on my iPhone, transferred
to my computer, and was ultimately saved as “7212014 103745 AM.m4a.”

14.On July 31, 2014, at approximately 9:43 AM, I recorded and participated in a
conversation | attempted to have with Lauren Kruse of the Gap. The file containing the recorded
conversation was saved on my iPhone, transferred to my computer, and was ultimately saved as
“7312014 94323 AM.m4a.”

15.On August 12, 2014, at approximately 5:25 PM, I recorded and participated in a
conversation | attempted to have with Lauren Kruse of the Gap. The file containing the recorded
conversation was saved on my iPhone, transferred to my computer, and was ultimately saved as
“8122014 52511 PM.m4a.”

16.On August 19, 2014, at approximately 11:24 AM, I recorded and participated in a
conversation | had with Christie Johnson from Linear Contracting Inc. The file containing the
recorded conversation was saved on my iPhone, transferred to my computer, and was ultimately
saved as “8192014 112437 AM.m4a.”

17. Ten minutes later, at approximately 11:34 AM, I recorded and participated in a
conversation | had with Barry Smith (hereinafter “Smith”), a person who represented himself to
be a business agent of Local 79. The file containing the recorded conversation was saved on my

iPhone, transferred to my computer, and was ultimately saved as “8192014 113406 AM.m4a.”
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18.On the same day, at approximately 12:12 PM, | recorded and participated in a
conversation | had with Smith. The file containing the recorded conversation was saved on my
iPhone, transferred to my computer, and was ultimately saved as “8192014 121211 PM.m4a.”

19.On August 20, 2014, at approximately 4:01 PM, I recorded and participated in a
conversation | had with Mike O’Neil from Bank of America. The file containing the recorded
conversation was saved on my iPhone, transferred to my computer, and was ultimately saved as
“8202014 40122 PM.m4a.”

20. The same day, at approximately 4:04 PM, I recorded and participated in a conversation |
had with Mike O’Neil from Bank of America. The file containing the recorded conversation was
saved on my iPhone, transferred to my computer, and was ultimately saved as “8202014 40431
PM.m4a.”

21.On August 26, 2014, at approximately 10:11 AM, I recorded and participated in a
conversation | had with Christie Johnson from Linear Contracting Inc. The file containing the
recorded conversation was saved on my iPhone, transferred to my computer, and was ultimately
saved as “8262014 101144 AM.m4a.”

22. On October 10, 2014, at approximately 8:38 AM, I recorded and participated in an in-
person conversation I had with representatives of BD, Brookdale Hospital, and Ametis Industries
(a contractor signatory to the Carpenters’ Union). The file containing the recorded conversation
was saved on my iPhone, transferred to my computer, and was ultimately saved as “10102014

83814 AM.m4a.”
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23. Later that day, at approximately 9:12 AM, I recorded and participated in a continuation of
an in-person conversation | had with representatives of BD, Brookdale Hospital, and Ametis
Industries. The file containing the recorded conversation was saved on my iPhone, transferred to
my computer, and was ultimately saved as “10102014 91227 AM.m4a.”

24.1 am familiar with the sounds heard as depicted in all of the aforementioned audio
recordings, as I personally recorded these conversations and was a party all of these
conversations. All of the audio recordings referenced above are a fair, accurate, and true
depiction of what occurred at the time I took the audio recordings. Furthermore, I did not in any

way alter, edit, modify, or change any of the audio recordings.

 

 

   

 

 
 

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Subscribed and sworn to before me Stan J, Rin,
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